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18:44:51    1                    UNITED STATES DISTRICT COURT

            2                     WESTERN DISTRICT OF NEW YORK

            3

            4

            5   - - - - - - - - - - - - - - X
                UNITED STATES OF AMERICA    )              19CR227
            6                               )
                vs.
            7                                 Buffalo, New York
                JOSEPH BONGIOVANNI,         )   January 5, 2022
            8                   Defendant.        10:00 a.m.
                - - - - - - - - - - - - - - X
            9   CONTINUATION OF EVIDENTIARY HEARING
                Transcribed from an Electronic Recording Device
           10

           11                      TRANSCRIPT OF PROCEEDINGS
                           BEFORE THE HONORABLE MICHAEL J. ROEMER
           12                   UNITED STATES MAGISTRATE JUDGE

           13
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           14                       United States Attorney
                                    BY: JOSEPH M. TRIPI, ESQ.
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           25                   100 State Street
                                Rochester, New York 14614
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            6   T. MOZG                  285         296

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           10

           11
                                    P R O C E E D I N G
           12                  *             *          *

           13

           14

18:44:56   15                  THE CLERK:       The United States District Court

18:45:00   16   in the Western District of New York is now in session,

18:45:02   17   the Honorable Michael J. Roemer is presiding.               We're

18:45:30   18   here on the matter of the United States versus Joseph

18:45:33   19   Bongiovanni, case No. 21CR227 for a continued

18:45:37   20   evidentiary hearing.        I'm sorry, it's 19CR227.

18:45:41   21             Counsel for the government, please state your

18:45:43   22   name for the record.

18:45:43   23                  MR. TRIPI:       Joseph Tripi, Brendan Cullinane

18:46:05   24   and Jordan Dickson for the United States.

18:46:09   25                  THE CLERK:       Thank you.    Counsel for the
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            1                        USA VS. J. BONGIOVANNI

18:46:10    2   defendant, please state your name for the record.

18:46:15    3                  MR. HARRINGTON:       Judge, James Harrington for

18:46:15    4   Joseph Bongiovanni.       Judge, also with me, with your

18:46:15    5   permission, is a law clerk from my office Winter Eaton

18:46:16    6   (phonetic).     With your permission.

18:46:26    7                  MAGISTRATE JUDGE ROEMER:          Sure, she

18:46:27    8   certainly has permission.         Welcome.

18:46:28    9                  We're here for a continuation of the

18:46:30   10   evidentiary hearing.        Mr. Tripi.

18:46:31   11                  MR. TRIPI:     Yes, Judge.      I believe defense

18:46:35   12   were going to call some witnesses today and we have

18:46:35   13   those witnesses that we anticipate the defense calling

18:46:47   14   here.

18:46:47   15                  MAGISTRATE JUDGE ROEMER:          Mr. Harrington?

18:46:48   16                  MR. HARRINGTON:       Yes, I call Jack Gernatt.

18:47:01   17   (J. GERNATT WAS CALLED TO THE WITNESS STAND AND SWORN.)

18:47:13   18                  THE CLERK:     Please state your name and spell

18:47:14   19   the name for the record.

18:47:16   20                  THE WITNESS:      Jack, J-a-c-k, Gernatt,

18:47:16   21   G-e-r-n-a-t-t.

18:47:16   22                  MR. TRIPI:     Judge, can we just have a

18:47:16   23   moment?    There are a couple of exhibits that we want to

18:47:24   24   talk about.     Sorry about that.

18:47:24   25                  MAGISTRATE JUDGE ROEMER:          Sure.    Sure.
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            1                J. GERNETT - DX BY MR. HARRINGTON

18:47:24    2                  (Whereupon, there was a pause in the

18:47:24    3   proceeding.)

18:59:06    4                  MR. TRIPI:     Judge, I think there are three

18:59:08    5   Defense Exhibits C, D and E that are going to be marked.

18:59:12    6   I'll stipulate them into evidence.            They are e-mail

18:59:15    7   threads, and so I'll argue to you that certain e-mails

18:59:18    8   within the threads should have little to no weight.               But

18:59:21    9   for purposes of the hearing and to move things along,

18:59:24   10   I'll stipulate them in.

18:59:26   11                  MAGISTRATE JUDGE ROEMER:          So that is

18:59:27   12   Defendant's Exhibits C, D and E, is that what you said?

18:59:31   13                  MR. HARRINGTON:       Yes, Judge.

18:59:31   14                  MAGISTRATE JUDGE ROEMER:          Those shall be

18:59:33   15   admitted into evidence.

18:59:33   16                  (Whereupon, Exhibits C, D and E were

18:59:46   17   received into evidence.)

18:59:46   18                  MR. HARRINGTON:       Inaudible.

18:59:48   19                  MAGISTRATE JUDGE ROEMER:          Sure.    Thank you.

18:59:51   20                  MR. HARRINGTON:       All set?

18:59:58   21                  MAGISTRATE JUDGE ROEMER:          All set.

19:00:15   22   DIRECT EXAMINATION BY MR. HARRINGTON:

19:00:15   23      Q.   Mr. Gernatt, who are you employed by?

19:00:18   24      A.   U.S. Customs and Border Protection.

19:00:27   25      Q.   And how long have you been working for them?
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            1                 J. GERNETT - DX BY MR. HARRINGTON

19:00:28    2      A.   Approximately since 2004, so about 18 years.

19:00:32    3      Q.   What is your current position?

19:00:34    4      A.   An officer with U.S. Customs.

19:00:48    5      Q.   Back in 2019, were you also an officer?

19:00:53    6      A.   Correct.

19:00:54    7      Q.   And were you aware of why you were called to

19:01:00    8   testify today?

19:01:01    9      A.   I am.

19:01:01   10      Q.   You and I have not spoken?

19:01:03   11      A.   That's correct, sir.

19:01:04   12      Q.   And did you review anything to help you prepare

19:01:08   13   to testify?

19:01:09   14      A.   I spoke with Mr. Tripi.

19:01:12   15      Q.   Did you review any document?

19:01:14   16      A.   I looked at the e-mail threads.

19:01:21   17      Q.   At any point in time, were you involved in the

19:01:23   18   case against United States versus Joseph Bongiovanni?

19:01:28   19      A.   I wasn't privy to much information in the case

19:01:35   20   against Joe Bongiovanni.

19:01:37   21      Q.   Back in April of 2019, did you play some role in

19:01:42   22   coordinating a stop of him at the BWI airport in

19:01:48   23   Baltimore?

19:01:49   24      A.   I did.     I received a phone call from Agent Tom

19:02:26   25   Mozg and Curtis Ryan.
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            1                J. GERNETT - DX BY MR. HARRINGTON

19:02:28    2      Q.   And what was your role in that particular

19:02:32    3   operation?

19:02:33    4      A.   I was asked by Agent Mozg if a border stop could

19:02:39    5   be conducted on Mr. Bongiovanni, and who he would need

19:02:44    6   to contact to coordinate that.           And I advised him to

19:02:49    7   speak with border security coordinator Mike Millich.

19:02:52    8      Q.   And what was your position at that point in time?

19:02:54    9      A.   I was a liaison to Homeland Security

19:03:02   10   Investigations Border Enforcement Security Task Force.

19:03:02   11      Q.   And you were contacted by Homeland Security

19:03:06   12   officers, is that right?

19:03:08   13      A.   Correct.

19:03:09   14      Q.   And, as far as you knew, at that time were there

19:03:16   15   any other agencies involved in this particular part of

19:03:19   16   the investigation of Mr. Bongiovanni?

19:03:22   17      A.   I don't recall what agencies.            Obviously, HSI I

19:03:29   18   knew was involved.

19:03:31   19      Q.   And were you advised what was desired by

19:03:38   20   Department of Homeland Security with respect to Mr.

19:03:41   21   Bongiovanni?

19:03:42   22      A.   I believe they wanted a secondary exam done on

19:03:46   23   him to include his electronic devices.

19:03:49   24      Q.   What does that mean secondary?

19:03:53   25      A.   So all persons entering the United States from a
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            1                    J. GERNETT - DX BY MR. HARRINGTON

19:03:56    2   foreign country are subject to an inspection and subject

19:03:59    3   to search.        So, he was selected for a secondary exam

19:04:04    4   where his luggage was searched and his phone was

19:04:07    5   examined.

19:04:08    6      Q.     Was he selected at random?

19:04:11    7      A.     I don't believe so. I believe it was based on the

19:04:16    8   information from Agent Mozg and the associations.

19:04:20    9      Q.     Do you know whether there was a request for a

19:04:23   10   secondary search sent to somebody at the U.S. Customs in

19:04:27   11   Baltimore?

19:04:28   12      A.     Yes.

19:04:29   13      Q.     And you indicated that the secondary search

19:04:34   14   includes a phone search.         Is that right?

19:04:36   15      A.     It can, yes.

19:04:37   16      Q.     And what do you mean by that?

19:04:38   17      A.     That the officers can search a phone at the

19:04:42   18   border.

19:04:43   19      Q.     And what's the extent of that search, if you

19:04:45   20   know?

19:04:45   21      A.     They can do an advance exam, which is hooking up

19:04:50   22   a device to the phone, or they can do a basic exam,

19:04:54   23   which is just reviewing the phone itself.

19:04:56   24      Q.     And is there a requirement by the traveler to

19:05:00   25   give permission for these kinds of searches?
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            1                  J. GERNETT - DX BY MR. HARRINGTON

19:05:04    2      A.   The traveler to give permission?

19:05:08    3      Q.   Yes.

19:05:09    4      A.   Not necessarily, no, not permission.

19:05:12    5      Q.   And this advance search, this device that it can

19:05:15    6   be hooked up to, do you know the name of that device?

19:05:18    7      A.   I wasn't -- there are different types of devices

19:05:21    8   that are used, I believe.         I don't know what device they

19:05:26    9   used.   I wasn't there for the inspection.

19:05:28   10      Q.   Does the use of that device require the traveler

19:05:32   11   giving a password to their phone?

19:05:34   12      A.   If it's locked, yes.

19:05:36   13      Q.   And if it's locked, do you know if those devices

19:05:39   14   can get access to the phone?

19:05:41   15      A.   I'm not an expert in utilizing the devices.                So I

19:05:44   16   know sometimes there can be problems.

19:05:46   17      Q.   Do you know if Customs and Border Patrol can

19:05:50   18   seize someone's phone at the border and keep it?

19:05:53   19      A.   They can detain a phone and keep it for thorough

19:05:57   20   investigation, correct.

19:06:00   21      Q.   For how long?

19:06:01   22                   MR. TRIPI:    Objection, Judge.        These are

19:06:03   23   legal issues for this Court.

19:06:04   24                   MAGISTRATE JUDGE ROEMER:         Overruled.

19:06:05   25      A.   I believe, in policy, if they wanted to, they
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            1                 J. GERNETT - DX BY MR. HARRINGTON

19:06:11    2   could detain it up to five days and ask for further, but

19:06:15    3   I'm not 100 percent certain.

19:06:17    4      Q.   Have you ever worked on the seizure of phones

19:06:21    5   yourself in your capacity?

19:06:24    6      A.   I've never seized a phone.

19:06:26    7      Q.   So you've never operated the advance machine or

19:06:28    8   anything like that to get into the phone?

19:06:30    9      A.   No.     I have operated the machines, but it was

19:06:33   10   years ago.      It was quite a few years.

19:06:38   11      Q.   Okay.

19:06:38   12      A.   So things have changed.

19:06:43   13      Q.   Now, you indicated that you had reviewed some

19:06:48   14   e-mail threads, and I take it those are ones that would

19:06:54   15   include you as either a recipient or someone that was

19:06:57   16   copied on them?

19:06:58   17      A.   That's correct.

19:06:59   18      Q.   And I'd like to show you Defendant's Exhibit C.

19:07:28   19                   THE CLERK:    Should be on.

19:07:37   20                   MR. TRIPI:    I see part of the Judge.

19:07:38   21                   MAGISTRATE JUDGE ROEMER:         We're looking at

19:07:39   22   the witness.      I think you just have to adjust.               We're

19:08:06   23   just upside down now.        There we go.

19:08:38   24      Q.   Can you see the display there?

19:08:44   25      A.   Yes, sir.
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            1                   J. GERNETT - DX BY MR. HARRINGTON

19:08:45    2      Q.    I direct your attention to the middle of the page

19:08:47    3   right to the name next to sticker?

19:08:49    4      A.    Yes, sir.

19:08:50    5      Q.    And --

19:08:51    6                    THE CLERK:    Jim, could you move?        Thank you.

19:08:54    7                    MR. HARRINGTON:     I'm sorry.

19:08:56    8                    THE CLERK:    Thank you.

19:08:56    9      Q.    In the middle of the page at exhibit, Defendant's

19:09:00   10   Exhibit C, there is an e-mail, and it's addressed to

19:09:04   11   Jack?

19:09:04   12      A.    That's correct.

19:09:05   13      Q.    And would that be you?

19:09:06   14      A.    That's correct.

19:09:07   15      Q.    And it says it's from Curtis, is that right?

19:09:11   16      A.    Correct.

19:09:11   17      Q.    Who is Curtis?

19:09:12   18      A.    It's a HSI Special Agent Curtis Ryan.

19:09:16   19      Q.    And he is with DHS?

19:09:18   20      A.    He is with Department of Homeland Security,

19:09:20   21   Homeland Security Investigations.

19:09:22   22      Q.    And this is dated on Tuesday April 23, 2019, is

19:09:27   23   that right?

19:09:27   24      A.    Yep.

19:09:28   25      Q.    And the request to you is, "can you coordinate
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            1                 J. GERNETT - DX BY MR. HARRINGTON

19:09:34    2   getting him secondary and getting his phone dumped," is

19:09:38    3   that right?

19:09:38    4      A.    Correct.

19:09:39    5      Q.    And that refers, does it not, down at the lower

19:09:43    6   part of the page, to Mr. Bongiovanni?

19:09:46    7      A.    Correct.

19:09:48    8      Q.    Now, you testified a few minutes ago as to what

19:09:54    9   you meant by "secondary."          What does the word "dumped"

19:09:57   10   mean to you?

19:09:57   11      A.    Dumped means the phone -- looking at the phone

19:10:00   12   information.

19:10:03   13      Q.    That is a term that is common with you and border

19:10:07   14   patrol and DHS?

19:10:09   15      A.    I'd say yes.

19:10:19   16      Q.    And then at the top of Defendant's Exhibit C is

19:10:25   17   another e-mail, and this appears to be from Mr. Curtis

19:10:32   18   Ryan.    Is that right?

19:10:33   19      A.    Correct.

19:10:36   20      Q.    And it appears that you were copied on that, but

19:10:38   21   you're not the direct recipient?

19:10:42   22      A.    Correct.

19:10:43   23      Q.    And that is to Mike Millich?

19:10:46   24      A.    Correct.

19:10:46   25      Q.    And who is Mike Millich?
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            1                   J. GERNETT - DX BY MR. HARRINGTON

19:10:48    2      A.    He is the border security coordinator for office

19:11:04    3   of field operations under Customs and Border Protection.

19:11:08    4      Q.    And is he the person that you contacted to get

19:11:11    5   this process rolling?

19:11:15    6      A.    Yes.

19:12:52    7      Q.    If I could, I'd like to show you Defendant's

19:12:56    8   Exhibit E, and direct your attention to the third page.

19:13:08    9   And at the bottom of the page, it appears to be an

19:13:14   10   e-mail from Thomas Mozg.         Is that how you pronounce his

19:13:22   11   name?

19:13:23   12      A.    Yes, sir.

19:13:23   13      Q.    To Michael Millich that you referred to earlier?

19:13:27   14      A.    Correct.

19:13:28   15      Q.    And you were copied on that, are you not?

19:13:31   16      A.    Yes, sir.

19:13:31   17      Q.    And he, Mr. Mozg confirms the fact that he is

19:13:35   18   contacting Millich at your instruction, correct?

19:13:45   19      A.    Correct.

19:13:47   20      Q.    And then he says that the following subject is

19:13:51   21   part of an HSI Buffalo investigation and gives the case

19:13:59   22   number involving transnational organized crime, correct?

19:14:04   23      A.    Correct.

19:14:05   24      Q.    And did you know the subject matter or reason for

19:14:09   25   the secondary search in this case?
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            1                  J. GERNETT - DX BY MR. HARRINGTON

19:14:10    2      A.    From what the e-mail says.

19:14:12    3      Q.    Do you recall now, did you have any knowledge

19:14:16    4   what it alleged that Mr. Bongiovanni did?

19:14:19    5      A.    I didn't have much information about Mr.

19:14:21    6   Bongiovanni prior to this encounter, very limited.

19:14:24    7      Q.    And then it requested DOMEX extraction, that is

19:14:29    8   the computer search or phone search, correct?

19:14:33    9      A.    That is correct.

19:15:04   10      Q.    Now directing your attention to page two of an

19:15:10   11   e-mail there that is appears at the bottom of the page

19:15:13   12   and it's from Christopher Candela, is that right?

19:15:17   13      A.    Correct.

19:15:17   14      Q.    And it indicates that this Mr. Mozg and you are

19:15:21   15   CC'd on that, right?

19:15:24   16      A.    Correct.

19:15:24   17      Q.    And do you know who Mr. Candela is?

19:15:27   18      A.    Personally, I don't know who he is.

19:15:30   19      Q.    Do you know what his role in this investigation

19:15:33   20   was?

19:15:33   21      A.    Per the e-mail, he is a watch commander in the

19:15:38   22   area port of Baltimore.

19:15:40   23      Q.    But other than seeing it on the e-mail you don't

19:15:43   24   have any personal knowledge?

19:15:44   25      A.    No.
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            1                 J. GERNETT - DX BY MR. HARRINGTON

19:15:44    2      Q.    Now, in the body of that e-mail, it appears to be

19:15:50    3   a summary of what happened when Mr. Bongiovanni was

19:15:54    4   encountered at BWI airport.          Is that right?

19:15:58    5      A.    Correct.

19:15:59    6      Q.    And do you know why you were copied on that?

19:16:04    7      A.    I think it was just a string of e-mails it looks

19:16:07    8   like.

19:16:08    9      Q.    But you did not have any further role in

19:16:10   10   following up on that following this?

19:16:12   11      A.    I followed up a little bit on it.

19:16:14   12      Q.    What role did you play in following up?

19:16:16   13      A.    I thanked Mr. Candela and then I followed up with

19:16:21   14   Mr. Millich.

19:16:22   15      Q.    But other than what is reflected in these

19:16:26   16   e-mails, would that be the extent of your part of the

19:16:29   17   investigation of Mr. Bongiovanni?

19:16:30   18      A.    Up to this point, yes.

19:16:31   19      Q.    After that, did you participate in the

19:16:34   20   investigation?

19:16:34   21      A.    Very limited.

19:16:36   22      Q.    When was that?

19:16:36   23      A.    After this inspection occurred.

19:16:39   24      Q.    When, when?

19:16:42   25      A.    Immediately after.
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            1                 J. GERNETT - DX BY MR. HARRINGTON

19:16:43    2      Q.    Same day, same night?

19:16:45    3      A.    I don't know if it was the same day or the next

19:16:48    4   day, but I did review information that was collected

19:16:51    5   during the inspection.

19:16:53    6      Q.    And what was the purpose of your doing that?

19:16:56    7      A.    I don't recall who, but I believe I was asked to

19:17:00    8   look at some of the contacts.

19:17:05    9      Q.    By contacts, what do you mean by that?

19:17:07   10      A.    Contacts that were in the phone.

19:17:17   11      Q.    And were you told what it was you were to look

19:17:20   12   for?

19:17:20   13      A.    No, just the contacts on the phone.

19:17:33   14      Q.    Now, showing you the first page of exhibit E,

19:17:42   15   there is an e-mail from Mr. Candela to Mr. Millich.               Is

19:17:50   16   that right, at the bottom?

19:17:51   17      A.    Correct.

19:17:51   18      Q.    You were not CC'd on that e-mail, is that right?

19:17:55   19      A.    Yeah, it looks that way.

19:17:57   20      Q.    Do you know why?

19:17:58   21      A.    No, I don't.

19:18:00   22      Q.    And then right above that there is an e-mail from

19:18:03   23   apparently from Mr. Millich, same day, Friday, April

19:18:07   24   206th.    I'm sorry the other e-mail was April 26th, 9:54,

19:18:15   25   there is an e-mail from Mr. Millich to you?
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            1                 J. GERNETT - DX BY MR. HARRINGTON

19:18:18    2      A.     Correct.

19:18:18    3      Q.     And it says, "Jack, let us know if this was

19:18:33    4   helpful to the cause"?

19:18:36    5      A.     Correct.

19:18:36    6      Q.     What does that mean?

19:18:37    7      A.     I think Mr. Millich was probably asking if this

19:18:41    8   inspection was helpful to the agents that were

19:18:44    9   requesting the exam.

19:18:45   10      Q.     What does "the cause" mean?

19:18:48   11      A.     Their investigation, I'm guessing, that is my

19:18:53   12   assumption.

19:18:55   13      Q.     And then it says, "I will keep it discrete.             If

19:19:12   14   you would like to let the boss know."             And that is

19:19:14   15   directed to you?

19:19:15   16      A.     Correct.

19:19:15   17      Q.     Why is this being kept discrete?

19:19:19   18      A.     You know, my best recollection is through

19:19:23   19   conversations with Agent Mozg and Curtis, that it was a

19:19:27   20   sensitive investigation.

19:19:29   21      Q.     Who is the boss?

19:19:33   22      A.     That would be Director of Field Operations, Rose

19:19:37   23   Brophy.

19:19:37   24      Q.     Where is she located?

19:19:39   25      A.     She is in Buffalo.
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19:19:44    2      Q.    Did he need your permission to let her know that?

19:19:48    3      A.    No.

19:19:56    4      Q.    Now, in the e-mail above that, that is an e-mail

19:20:04    5   from you to Mr. Millich?

19:20:06    6      A.    Correct.

19:20:06    7      Q.    Same day, April 26th, 10:22.           Is that right?

19:20:11    8      A.    Correct.

19:20:17    9      Q.    And you indicate to Mr. Millich, you said "yes, I

19:20:26   10   did"?

19:20:26   11      A.    Yes, I did.      I'm basically saying it was helpful

19:20:32   12   to HSI investigators.

19:20:33   13      Q.    And then you said, "I believe warrants will be

19:20:36   14   written soon for phone information because there were

19:20:47   15   mafia associates and/or possible members listed from the

19:20:47   16   pictures they sent."         Is that right?

19:20:49   17      A.    Correct.

19:20:50   18      Q.    This is you writing this?

19:20:51   19      A.    Correct.

19:20:52   20      Q.    And what was that based on?

19:20:54   21      A.    Based on --

19:20:55   22                   MR. TRIPI:     Objection.

19:20:56   23                   MAGISTRATE JUDGE ROEMER:         Overruled.

19:20:57   24      A.    Based on the information seen in the phone.

19:21:04   25      Q.    But you're stating that you believe that there
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19:21:06    2   were mafia associates and possible members, I assume

19:21:12    3   "possible members" you mean members of the mafia, is

19:21:15    4   that right?

19:21:16    5      A.    Yes.

19:21:16    6      Q.    And how did you know that?

19:21:18    7      A.    Based on conversations with other law

19:21:23    8   enforcement, the investigators.

19:21:24    9      Q.    And you said this was based on the pictures that

19:21:31   10   were shown?

19:21:33   11      A.    Correct.

19:21:33   12      Q.    And you looked at those pictures yourself?

19:21:35   13      A.    Correct.

19:21:37   14      Q.    And did you see anybody in those pictures that

19:21:41   15   you knew who is associated with the mafia?

19:21:42   16                    MR. TRIPI:    Objection for clarification

19:21:45   17   we're talking about pictures of the screen shots in the

19:21:50   18   contact list of the phone.          I don't believe there were

19:21:52   19   pictures in the phone.         There were not pictures of

19:21:57   20   individuals from the phone, so I want just the record to

19:22:01   21   be clear that the pictures that are being referenced in

19:22:04   22   the e-mail are the pictures of the screen shots that

19:22:06   23   were sent via PDF.

19:22:09   24                    MAGISTRATE JUDGE ROEMER:        Mr. Harrington.

19:22:10   25                    MR. HARRINGTON:     That's correct.       I'll
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19:22:12    2   clarify.

19:22:13    3                  MAGISTRATE JUDGE ROEMER:          Okay.

19:22:15    4      Q.    Mr. Gernatt, you didn't actually see any pictures

19:22:19    5   of people's faces?

19:22:20    6      A.    No, just contacts, just names with numbers.

19:22:23    7      Q.    There were photographs taken of contacts on the

19:22:27    8   phone.     Is that right?

19:22:28    9      A.    I believe so, yes.

19:22:29   10      Q.    And did you look through those pictures of those

19:22:33   11   contacts?

19:22:33   12      A.    I looked for some, yes.

19:22:38   13      Q.    And let me just show you for a minute.              And look

19:22:42   14   at it by yourself, Government Exhibit No. 1.

19:22:51   15      A.    Just number one?

19:22:53   16      Q.    Go through them all, just to yourself.

19:24:59   17                  MR. TRIPI:      Judge, while he is reviewing

19:25:01   18   that, I'm going to have an objection.             My objection is

19:25:03   19   the subsequent analysis about what this witness did or

19:25:09   20   may have done with anything has zero impact on the

19:25:13   21   border search that occurred April 23rd, which is really

19:25:20   22   what this hearing is about.          And although I stipulated

19:25:28   23   these e-mail threads in, really none of the e-mail track

19:25:32   24   after April 23rd has anything to do with the issue that

19:25:37   25   is before this court for the hearing.             This may be well
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19:25:40    2   and good for trial, but this is not part of the motions

19:25:43    3   that were made before you or the hearing that you

19:25:45    4   granted.

19:25:47    5                    MAGISTRATE JUDGE ROEMER:        Mr. Harrington.

19:25:48    6                    MR. HARRINGTON:     Judge, this goes back to

19:25:50    7   the motivations for the stop of Mr. Bongiovanni, the

19:25:53    8   extent that the search of him at the border and gives

19:25:58    9   some weight for the Court to consider what the agents

19:26:01   10   did and there is no connection with that.

19:26:03   11                    MR. TRIPI:    There is no dispute, Judge,

19:26:05   12   about the fact that he was selected for a one-day

19:26:08   13   lookout and targeted.         There is no dispute.        But this is

19:26:12   14   just a fishing expedition.

19:26:13   15                    MAGISTRATE JUDGE ROEMER:        Well, the issue is

19:26:16   16   we're supposed to be doing today is what information was

19:26:21   17   given to Baltimore as to what to look for in the phones.

19:26:26   18   This might have a tendency to do that.              I agree, to some

19:26:29   19   extent, this is a little bit beyond what the hearing was

19:26:32   20   for, but I'm going to overrule the objection.                Mr.

19:26:32   21   Harrington.

19:26:37   22   CONTINUING DIRECT EXAMINATION BY MR. HARRINGTON:

19:26:37   23      Q.    Have you had a chance to look at the screen shots

19:26:41   24   contained in exhibit 1?

19:26:44   25      A.    Yeah.     Yes.
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19:27:14    2      Q.    And if you know, are those the same screen shots

19:27:20    3   that you looked at?

19:27:21    4      A.    I believe so, yes.

19:27:23    5      Q.    And did you recognize the names of any of the

19:27:26    6   people in the screen shots?

19:27:27    7      A.    I recognize a couple of names in the screen

19:27:31    8   shots, yes.

19:27:31    9      Q.    Which ones?

19:27:32   10                  MR. TRIPI:      Objection.

19:27:33   11                  MAGISTRATE JUDGE ROEMER:          Overruled.

19:27:34   12                  MR. TRIPI:      Judge, may I just state the

19:27:35   13   basis?

19:27:36   14                  MAGISTRATE JUDGE ROEMER:          Surely.

19:27:37   15                  MR. TRIPI:      This answer will get into the

19:27:39   16   whole reason that our search --

19:27:39   17                  MAGISTRATE JUDGE ROEMER:          This is about as

19:27:41   18   far as I'm going to let him go.

19:27:43   19                  MR. TRIPI:      Once he starts mentioning names,

19:27:46   20   then we're getting into the whole reason why our search

19:27:50   21   warrants remain sealed.         As soon as he reveals what

19:27:53   22   names law enforcement had an interest in and people that

19:27:57   23   are not charged and are subject to current

19:27:59   24   investigation.

19:28:00   25                  MAGISTRATE JUDGE ROEMER:          These are
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19:28:03    2   government's exhibits, it's in evidence and it's a

19:28:04    3   public document.

19:28:05    4                  MR. TRIPI:      It's a public document, but

19:28:07    5   there are many more names in the series of screen0 shots

19:28:11    6   than this witness is going to know about in response to

19:28:13    7   this question.

19:28:14    8                  MAGISTRATE JUDGE ROEMER:          The original basis

19:28:16    9   of the objection is it's going to put out information

19:28:18   10   that nobody else knows; this is public.

19:28:21   11                  MR. TRIPI:      Yeah, but there is probably 30

19:28:24   12   names on here and if he answers the question about who

19:28:28   13   he knew about, not only does this have nothing to do

19:28:31   14   with the border search, now we're getting into the

19:28:34   15   reason why our search warrants remain sealed and other

19:28:39   16   aspects of the case.

19:28:40   17                  MAGISTRATE JUDGE ROEMER:          I don't follow

19:28:41   18   you.

19:28:41   19                  MR. TRIPI:      There are current subjects or

19:28:58   20   targets listed in these who are not publically

19:29:01   21   identified.     That is what I'm saying --

19:29:04   22                  MAGISTRATE JUDGE ROEMER:          They are

19:29:04   23   publically identified, this exhibit is a public exhibit.

19:29:08   24                  MR. TRIPI:      But the exhibit doesn't tell

19:29:11   25   anyone in the world who the subject of the investigation
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19:29:14    2   is.   This answer may that is all I'm saying.

19:29:18    3                  MAGISTRATE JUDGE ROEMER:          Mr. Harrington.

19:29:19    4                  MR. HARRINGTON:       Judge --

19:29:22    5                  MAGISTRATE JUDGE ROEMER:          I'm not going to

19:29:23    6   let you go too much further, Mr. Harrington.               The

19:29:26    7   purpose of today's hearing was what information did he

19:29:29    8   have that they sent to Baltimore for them to look for.

19:29:32    9   That was the purpose of today's hearing.

19:29:37   10                  MR. HARRINGTON:       But, again, I go back to

19:29:40   11   what I argued before, Judge, was that we will argue to

19:29:43   12   the Court about the improper motivation for what was

19:29:46   13   done here and the extent of what was done, and that we

19:29:50   14   believe that it went beyond the authority of Customs and

19:29:54   15   Border Patrol in this particular case.

19:29:55   16                  MAGISTRATE JUDGE ROEMER:          I'm not sure their

19:29:56   17   motivation is relevant.

19:29:59   18                  MR. HARRINGTON:       It can be relevant, Judge,

19:30:01   19   if it's --

19:30:02   20                  MAGISTRATE JUDGE ROEMER:          I mean, either

19:30:03   21   they weren't allowed to look at it, or they were allowed

19:30:06   22   to look at it.

19:30:09   23                  MR. HARRINGTON:       It goes to.

19:30:11   24                  MAGISTRATE JUDGE ROEMER:          I mean, there is

19:30:11   25   no claim here of outrageous government conduct or
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19:30:15    2   anything like that.

19:30:15    3                  MR. HARRINGTON:       We don't know that.

19:30:16    4                  MAGISTRATE JUDGE ROEMER:          Then you are on a

19:30:18    5   fishing expedition.

19:30:19    6                  MR. HARRINGTON:       This case started with all

19:30:21    7   sorts of media publicity.          This was an investigation of

19:30:25    8   the Italian organized crime, they put it in the

19:30:28    9   indictment and have press conferences and all other

19:30:32   10   types of things.       Mr. Tripi is trying to walk back from

19:30:36   11   that and trying to hide from that.            And what we're

19:30:38   12   saying to the Court, that may be an invidious motivation

19:30:43   13   and it may lead to outrageous government conduct.

19:30:43   14                  MAGISTRATE JUDGE ROEMER:          I don't know

19:30:43   15   having him identify the individual people, I don't know.

19:30:43   16   I am going to sustain the objections.             Ask the next

19:30:43   17   question.

19:56:35   18      Q.    Directing your attention to Exhibit E. At the top

19:56:40   19   it's got in the second paragraph of the first e-mail, at

19:56:44   20   the top, it's got "FYI"; is that right?

20:31:57   21      A.    Correct.

20:31:58   22      Q.    And it's got looks like a paragraph redacted or

20:32:02   23   blacked out.      Is that right?

20:32:04   24      A.    Correct.

20:32:04   25      Q.    Did you do that?
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20:32:05    2      A.    I didn't black it out.

20:32:07    3                  MR. TRIPI:      I redacted it, your Honor.         And

20:32:09    4   I explained to Mr. Harrington why and the nature of

20:32:13    5   what's in that paragraph.          I did that last week.

20:32:16    6                  MAGISTRATE JUDGE ROEMER:          He asked the

20:32:18    7   question, the witness said he didn't black it out.                I

20:32:21    8   don't know what the next question is.

20:32:24    9                  MR. HARRINGTON:       Judge, I would request that

20:32:25   10   the Court be given an unredacted copy of that email for

20:32:32   11   the Court to review.

20:32:32   12                  MAGISTRATE JUDGE ROEMER:          Okay.

20:32:33   13                  MR. TRIPI:      I can do that, your Honor.

20:32:34   14                  MAGISTRATE JUDGE ROEMER:          You got one right

20:32:36   15   now?

20:32:36   16                  MR. TRIPI:      I don't.     It's saved on my

20:32:38   17   Cloud.    I can get it to you after the hearing or if you

20:32:42   18   want it after the hearing.          I didn't bring an unredacted

20:32:46   19   copy.    Generally, the paragraph relates to this witness'

20:32:58   20   view of what the larger investigation scope was and so I

20:33:03   21   redacted it out.

20:33:04   22                  MAGISTRATE JUDGE ROEMER:          Okay.    Just get

20:33:06   23   that to me, okay, after the hearing.

20:33:08   24                  MR. TRIPI:      I will.

20:33:10   25                  MR. HARRINGTON:       That's all the questions I
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            1                    J. GERNETT - CX BY MR. TRIPI

20:33:12    2   have.

20:33:12    3                  MAGISTRATE JUDGE ROEMER:          Thank you, Mr.

20:33:13    4   Harrington.     Hang on, sir.       Hang on, sir.       Mr. Tripi

20:33:17    5   gets a chance to ask you questions.

20:33:17    6   CROSS EXAMINATION BY MR. TRIPI:

20:34:10    7      Q.    CBP Officer, is this your first time testifying

20:34:13    8   in Federal Court?

20:34:14    9      A.    Yes, sir.

20:34:15   10      Q.    And you are a CBP Officer assigned to the Office

20:34:20   11   of Field Operations, correct?

20:34:22   12      A.    Correct.

20:34:22   13      Q.    And generally your involvement has been searching

20:34:26   14   bridges, being at bridges in and around the Buffalo

20:34:30   15   area.    Is that correct?

20:34:30   16      A.    The ports of entries, correct.

20:34:32   17      Q.    What ports of entries?

20:34:34   18      A.    Buffalo, Lewiston, Rainbow Bridge, Broco bridge,

20:34:42   19   Buffalo Airport and liaisoning with the HSI.

20:34:46   20      Q.    So the bulk of your career has been involved with

20:34:50   21   dealing with passenger vehicles at the bridges?

20:34:53   22      A.    Correct, passengers and commercial.

20:34:56   23      Q.    Trucks and stuff?

20:34:57   24      A.    Trucks, correct.

20:34:59   25      Q.    And how long have you been with CBP?
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20:35:03    2      A.    Since January of 2004.

20:35:05    3      Q.    And that was all in the Buffalo area?

20:35:07    4      A.    All in the Buffalo area, correct.

20:35:12    5      Q.    And, is it accurate that with CBP, you were part

20:35:17    6   of their anti-terrorism and contraband enforcement team

20:35:21    7   from roughly 2008 to 2018 doing work at the bridges?

20:35:24    8      A.    Roughly, yep.

20:35:26    9      Q.    And in 2019 you, begin this role sort of a

20:35:31   10   liaison to HSI, correct?

20:35:33   11      A.    Correct.

20:35:34   12      Q.    And what did that mean?

20:35:35   13      A.    It gave HSI singular points of contacts to the

20:35:40   14   bridges, to CBP.       So instead of 6, 700 officers that

20:35:44   15   work there, it gave them a singular contact being myself

20:35:48   16   and my partner Joe Spadone.

20:35:51   17      Q.    And do you understand that is the reason you were

20:35:54   18   the person in contact with HSI to start the ball rolling

20:36:00   19   -- withdrawn.       To start facilitating efforts to do this?

20:36:04   20      A.    I believe so.

20:36:06   21      Q.    Now, at that point in time, early 2019, did you

20:36:24   22   know HSI Special Agent Curtis Ryan very well?

20:36:28   23      A.    Not too well, I would say.

20:36:31   24      Q.    Did you know CBP Officer Thomas Mozg very well?

20:36:37   25      A.    I knew him more than I knew Curtis Ryan, but at
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            1                    J. GERNETT - CX BY MR. TRIPI

20:36:41    2   that time, not very well, but I knew them both.

20:36:44    3      Q.     At that time, you didn't have daily interactions?

20:36:47    4      A.     That's correct.

20:36:54    5      Q.     And, airports that receive incoming international

20:36:59    6   flights would be the border, or the functional

20:37:04    7   equivalence of the border, right?

20:37:07    8      A.     Correct, they are a functional equivalent to the

20:37:10    9   border.

20:37:10   10      Q.     And that would include BWI in Baltimore?

20:37:13   11      A.     Correct.

20:37:13   12      Q.     And now are Homeland Security Investigations and

20:37:17   13   CBP both under the Department of Homeland Security

20:37:42   14   umbrella?

20:37:43   15      A.     Correct.

20:37:44   16      Q.     And do HSI and CBP share the same system to

20:38:11   17   access information?

20:38:12   18      A.     Correct.

20:38:12   19      Q.     And CPB Officer Thomas Mozg, he is with CBP, but

20:38:23   20   he has a different job than you, is that correct?

20:38:26   21      A.     Correct.    He is with Customs and Border

20:38:29   22   Protection, but with border patrol.

20:38:31   23      Q.     Very briefly, how does that differ from your

20:38:33   24   role?

20:38:34   25      A.     So under Customs and Border Protection, there is
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            1                    J. GERNETT - CX BY MR. TRIPI

20:38:38    2   air and marine operations, AMO, border patrol and then

20:38:53    3   OFO.    I work at the ports of entries.           Tommy works

20:38:57    4   between the ports of entry, Agent Mozg, between the

20:39:02    5   ports of entries.       A lot of time we clarify that Tom is

20:39:06    6   the guy in the green uniform, and I'm the guy in the

20:39:09    7   blue uniform if that makes sense.

20:39:12    8      Q.    And Border Patrol, they will do follow up into

20:39:24    9   the interior of the United States?

20:39:27   10      A.    Correct.

20:39:32   11      Q.    And you've already explained primary and

20:39:35   12   secondary inspections.         Are one-day lookouts common in

20:39:38   13   your line of work?

20:39:39   14      A.    They are common, yes.

20:39:40   15      Q.    Are searches that are predicated or as a result

20:39:48   16   of law enforcement information shared by other agencies

20:39:51   17   a common part of your job?

20:39:53   18      A.    It can be, yes.

20:39:55   19      Q.    In your role at the bridges, have you done

20:39:58   20   searches coordinating with border searches coordinating

20:40:11   21   with other law enforcement agencies?

20:40:34   22      A.    Yes.

20:40:34   23      Q.    And is that based on information that the other

20:40:38   24   law enforcement agencies held that you might not have

20:40:42   25   been privy to?
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            1                    J. GERNETT - CX BY MR. TRIPI

20:40:43    2      A.    Correct.

20:40:44    3      Q.    What other agencies have you helped facilitate

20:40:48    4   searches at bridges?

20:40:49    5      A.    The HSI, FBI, DEA, pretty much about it.

20:40:57    6      Q.    State and local?

20:40:58    7      A.    State and local, yeah, New York State Police we

20:41:02    8   have, sometimes local, local cops.

20:41:04    9      Q.    So what you were being asked to do as it related

20:41:08   10   to Mr. Bongiovanni, did you see any problem with it?

20:41:11   11      A.    No.

20:41:15   12      Q.    Did it seem like a routine part of your job?

20:41:18   13      A.    It seemed pretty routine being that he was coming

20:41:22   14   from another country.

20:41:23   15      Q.    And by early 2019, did you know who Joseph

20:41:30   16   Bongiovanni was?

20:41:31   17      A.    Prior to when?

20:41:32   18      Q.    Prior to your involvement in this event, this

20:41:36   19   sequence of events, did you know who Mr. Bongiovanni

20:41:39   20   was?

20:41:39   21      A.    Very limited at this point.

20:41:42   22      Q.    Had you ever met him personally?

20:41:44   23      A.    Never met him personally.

20:41:46   24      Q.    Had you ever seen him, as far as you know?

20:41:49   25      A.    No.
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            1                    J. GERNETT - CX BY MR. TRIPI

20:41:50    2      Q.    Would it be accurate to say this was the first or

20:42:01    3   among the first actual involvement you had in this

20:42:05    4   investigation?

20:42:05    5      A.    That would be correct.

20:42:09    6      Q.    So to state it more accurately, you did not have

20:42:13    7   much involvement in this investigation prior to April

20:42:16    8   23rd, 2018?

20:42:20    9      A.    That is pretty accurate.

20:42:28   10      Q.    Now, I'm going to put on the screen Government's

20:42:31   11   Exhibit 34, which is already in evidence from a prior

20:42:36   12   occasion?

20:42:36   13      A.    Mm-hmm.

20:42:37   14      Q.    I'm just going to start the third page just has a

20:42:42   15   signature block, so I'm going to start with the second

20:42:45   16   page.    Second page of exhibit 34 has an e-mail from

20:42:51   17   Thomas Mozg to Mr. Millich, correct?

20:42:55   18      A.    Correct.

20:42:56   19      Q.    And in the context of your organization, is Mr.

20:42:59   20   Millich a supervisor several levels above you?

20:43:02   21      A.    Several, yes.

20:43:03   22      Q.    And he is someone who can make contact with a

20:43:07   23   watch commander in Baltimore?

20:43:08   24      A.    Correct.

20:43:12   25      Q.    Now, looking at the body of this e-mail, April
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            1                     J. GERNETT - CX BY MR. TRIPI

20:43:15    2   23rd, 2019 at 2:46 p.m., my next question is, Defense

20:43:25    3   Exhibit E, page 3, it's the same e-mail, correct?                 April

20:43:39    4   23rd, 2019, 2:46.

20:43:42    5      A.    Correct, yes.

20:43:43    6      Q.    Right.

20:43:45    7                   MR. TRIPI:     So on the screen now, Judge, is

20:43:47    8   defense, Government's Exhibit 34 in evidence.                And we're

20:43:53    9   moving that.      And now on the screen is page two, Defense

20:43:57   10   Exhibit E.

20:44:08   11      Q.    Next I'm showing you Government's Exhibit 34,

20:44:13   12   page 1. This is an e-mail back from that is Watch

20:44:22   13   Commander Candela, correct?

20:44:23   14      A.    Correct.

20:44:23   15      Q.    And has copied Joseph Spadone, yourself and

20:44:38   16   Curtis Ryan and Thomas Mozg, correct?

20:44:41   17      A.    And Mike Millich.

20:44:43   18      Q.    And Mike Millich, sorry.

20:44:44   19      A.    Yep.

20:44:45   20      Q.    And it begins with "Alcon," gives a description

20:44:51   21   and ends with "Regards, Chris Candela," correct?

20:44:54   22      A.    Correct.

20:44:55   23      Q.    Now I'm going to put on the screen Defense

20:44:58   24   Exhibit E, page two.         The e-mail from Candela and

20:45:05   25   Defense Exhibit E page 2, April 23, 2019 at 10:13 p.m.
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            1                    J. GERNETT - CX BY MR. TRIPI

20:45:43    2   That is the same e-mail that we just showed you in

20:45:47    3   Government's Exhibit 34, correct?

20:45:49    4      A.    Correct.

20:45:54    5      Q.    And we'll bring back on the screen Government's

20:45:57    6   Exhibit 34, I'm going to hand you up, actually,

20:46:02    7   Government's Exhibit 34 and Defense Exhibit E. Look at

20:46:05    8   both of them.       And then I'll ask you a question.

20:46:25    9            Page one of Government's Exhibit 34, the e-mail

20:46:29   10   from Watch Commander Candela describing the results.

20:46:38   11   That e-mail is where those pictures you were shown was

20:46:43   12   transmitted, correct?

20:46:47   13      A.    I believe so, yes.

20:51:06   14      Q.    And Government's Exhibit 34, the only difference

20:51:09   15   with Defense Exhibit E is that e-mail thread stops with

20:51:13   16   the results of the search as described by Watch

20:51:19   17   Commander Candela and the photos that were sent via PDF,

20:51:26   18   correct?

20:51:26   19      A.    That's correct.

20:51:27   20      Q.    Defense Exhibit E continues with certain e-mails

20:51:40   21   that occurred in the days that follow April 23rd, 2019,

20:51:46   22   correct?

20:51:46   23      A.    Correct.

20:52:31   24      Q.    I'm going to show you, again, put on the screen

20:52:35   25   Defense Exhibit E that is in evidence.              And I'm going to
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            1                    J. GERNETT - CX BY MR. TRIPI

20:52:52    2   focus back in on that e-mail that is duplicated on

20:52:56    3   Government's Exhibit 34.         On Defense Exhibit E from

20:53:03    4   Commander Candela, do you see a sentence in there that

20:53:12    5   said, "We examined the photos and some of the text

20:53:15    6   messages with no derog to report."            Do you see that?

20:53:19    7         A.   I see that, correct.

20:53:20    8         Q.   What does the term "derog" mean as you understand

20:53:24    9   it?

20:53:25   10         A.   Derogatory information.

20:53:27   11         Q.   Would that be a reference to nothing to arrest

20:53:31   12   Mr. Bongiovanni for at that time?

20:53:33   13         A.   That's correct.

20:53:34   14         Q.   Now, of course, you didn't know much about the

20:53:37   15   investigation, correct?

20:53:38   16         A.   Correct.

20:53:39   17         Q.   And would it be fair to say, the officers

20:53:44   18   involved in the offense in Baltimore didn't know much,

20:53:51   19   either?

20:53:51   20         A.   Correct.

20:53:52   21         Q.   Is there anything wrong with them sharing the

20:53:54   22   information from you that they obtained from the phone

20:53:56   23   and with Special Agent Curtis Ryan, as far as you

20:53:59   24   understand it?

20:54:00   25         A.   No.
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            1                    J. GERNETT - CX BY MR. TRIPI

20:54:02    2      Q.    Do you, as members of law enforcement, share

20:54:08    3   information frequently?

20:54:09    4      A.    Yes, correct.

20:54:11    5      Q.    And is sharing of information encouraged,

20:54:14    6   generally?

20:54:14    7      A.    Correct.

20:54:22    8      Q.    If someone is, in your experience, a subject or a

20:54:26    9   target of an ongoing investigation of another agency and

20:54:30   10   you or a member of CBP generally is aware of it, is it

20:54:34   11   more likely or less likely that person will be secondary

20:54:37   12   at the border.

20:54:44   13      A.    Depends on the investigation and how the

20:55:01   14   investigators would like that to be handled, you know.

20:55:05   15      Q.    In a case like this, where there is a request, is

20:55:08   16   that common?

20:55:09   17      A.    That we do it, yes.

20:55:12   18      Q.    Now, did you -- did you exercise any supervision

20:55:17   19   over the way the people in Baltimore did the search?

20:55:20   20      A.    No.

20:55:21   21      Q.    Did you offer any advice?

20:55:22   22      A.    No.

20:55:23   23      Q.    Did you give them any directives?

20:55:25   24      A.    No.

20:55:25   25      Q.    Could it have been within their discretion to not
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            1                     J. GERNETT - CX BY MR. TRIPI

20:55:30    2   do the search if so they so decided?

20:55:32    3      A.    Yes, they could have not done it.

20:55:34    4      Q.    I'm going to show you Defense Exhibit D. Just

20:55:44    5   very quickly.       You see those e-mails both on page one of

20:55:48    6   the exhibit, the e-mail, April 23rd, 2019, 12:44 p.m.

20:55:54    7   from Curtis Ryan to you with a CC to Joseph Spadone?

20:56:08    8      A.    Correct.

20:56:09    9      Q.    It says, "Jack, can you coordinate secondary,"

20:56:13   10   Mr. Harrington asked you about that?

20:56:15   11      A.    Correct.

20:56:15   12      Q.    Is that consistent with any phone conversations

20:56:19   13   you had with Curtis Ryan?

20:56:20   14      A.    It is.

20:56:23   15      Q.    And is that about all you did was put Mozg and

20:56:27   16   Ryan in touch with Millich?

20:56:29   17      A.    I would say so, yes.

20:56:40   18      Q.    Just to clarify, was it prior to the search, that

20:56:44   19   is all you did?

20:56:44   20      A.    Correct.

20:57:17   21      Q.    Now, the e-mail that Mr. Harrington asked you

20:57:19   22   about from April 26th, right?

20:57:24   23      A.    Mm-hmm.

20:57:25   24      Q.    The first one is from a supervisor several levels

20:57:30   25   above you, Mr. Millich, where he asks you, "let us know
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            1                     J. GERNETT - CX BY MR. TRIPI

20:57:35    2   if it was helpful to the cause, I will keep it discrete,

20:57:39    3   but would like to let the boss know," correct?

20:57:41    4      A.    Correct.

20:57:42    5      Q.    When a supervisor asks you a question, are you

20:57:54    6   allowed to ignore their question to you?

20:57:57    7      A.    Probably not a good idea.

20:57:58    8      Q.    And so you indicated that and boss in this e-mail

20:58:06    9   you understood to be Rose Brophy?

20:58:08   10      A.    Yes.

20:58:09   11      Q.    And would she be the ultimate boss on your job?

20:58:12   12      A.    She would be the ultimate boss in charge of all

20:58:16   13   New York State for Customs and Border Protection minus

20:58:42   14   New York City.

20:58:43   15      Q.    And did you have an interest in becoming involved

20:58:46   16   in more involved in these types of investigations?

20:58:48   17      A.    I did.

20:58:49   18      Q.    So when you were responding to Mr. Millich, did

20:58:54   19   you have any of your desire to remain involved in these

20:58:58   20   types of investigations in your mind?

20:59:00   21      A.    Yeah.

20:59:00   22      Q.    In your experience, you were asked about, and I

20:59:49   23   understand sometimes you used a Cellebrite or some type

20:59:53   24   of device, but in your experience or things that you

20:59:55   25   learned, are there times when phones are hooked up to
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            1                J. GERNETT - RDX BY MR. HARRINGTON

20:59:59    2   those devices and they ask for passwords, and if a

21:00:02    3   password is not had, then you can't do a full logical

21:00:10    4   examination?

21:00:11    5      A.    Correct, that has happened.

21:00:17    6                  MR. TRIPI:      Just a minute, your Honor.

21:00:18    7                  MAGISTRATE JUDGE ROEMER:          Sure.

21:00:52    8                  MR. TRIPI:      I don't have anything further.

21:00:53    9                  MAGISTRATE JUDGE ROEMER:          Thank you.

21:00:54   10                  Mr. Harrington?

21:00:55   11   REDIRECT EXAMINATION BY MR. HARRINGTON:

21:01:02   12      Q.    Mr. Gernatt, Mr. Tripi just asked you a question

21:01:07   13   about your interest about being involved in

21:01:09   14   investigations like this?

21:01:10   15      A.    Mm-hmm.

21:01:11   16      Q.    What do you mean by that?

21:01:13   17      A.    I'm more involved than probably not working if

21:01:16   18   the primary environment at the borders, but more closely

21:01:20   19   with some of the other federal partners.

21:01:24   20      Q.    So regardless of this case, you're talking just

21:04:12   21   in general, like, being involved in something more that

21:04:15   22   you're interested in or promoting your career or that

21:04:18   23   kind of thing, is that what you mean?

21:04:19   24      A.    Correct.

21:04:19   25      Q.    And Mr. Tripi asked you on Government's Exhibit E
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            1                J. GERNETT - RDX BY MR. HARRINGTON

21:04:23    2   about your giving advice to the CBP in Baltimore about

21:04:32    3   how they would conduct the examination.              I direct your

21:04:37    4   attention to page 3 at the top.           And there appears to be

21:04:43    5   an e-mail there from Mr. Mozg on April 23 at 5:06 to

21:04:50    6   Michael Millich, correct?

21:04:51    7      A.    Correct.

21:04:52    8      Q.    And you are CC'd on that; is that right?

21:04:55    9      A.    Correct.

21:04:55   10      Q.    And in that e-mail from him, he is recommending

21:05:03   11   what the approach should be to Mr. Bongiovanni and his

21:05:05   12   family, is he not?

21:05:07   13      A.    Correct.

21:05:07   14      Q.    And so while you didn't do that in this case,

21:05:12   15   that is not uncommon from somebody from Buffalo to

21:05:15   16   Baltimore to make recommendations on how to proceed, is

21:05:19   17   that right?

21:05:19   18      A.    Correct.

21:05:20   19                  MR. HARRINGTON:       That's all I have, Judge.

21:05:21   20                  MAGISTRATE JUDGE ROEMER:          Thank you, sir.

21:05:23   21   Anything further?

21:05:23   22                  MR. TRIPI:      No, your Honor.       No, thank you.

21:05:25   23                  MAGISTRATE JUDGE ROEMER:          Now you can step

21:05:26   24   down, sir.

21:05:28   25                  THE WITNESS:      Thank you, sir.
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            1                   T. MOZG - DX BY MR. HARRINGTON

21:05:33    2                   MAGISTRATE JUDGE ROEMER:         Mr. Harrington,

21:05:34    3   you want to call your next witness?

21:05:35    4                   MR. HARRINGTON:      (Inaudible).

21:06:29    5                   THE CLERK:     Step up this way, please.          Right

21:06:34    6   this way, and I'll swear you in.

21:06:36    7   (T. MOZG WAS CALLED TO THE WITNESS STAND AND SWORN.)

21:06:44    8                   Thank you.     Please have a seat.        When

21:06:46    9   seated, you may take off your mask and speak into the

21:06:49   10   microphone and state your name for the record.

21:06:51   11                   THE WITNESS:     Okay.

21:06:55   12                   THE CLERK:     Thank you.

21:06:58   13                   THE WITNESS:     Thomas William Mozg.

21:07:05   14                   THE CLERK:     Thank you.

21:07:09   15   DIRECT EXAMINATION BY MR. HARRINGTON:

21:07:12   16      Q.    Morning, Mr. Mozg.

21:07:14   17      A.    Morning.

21:07:14   18      Q.    My name is Jim Harrington.          I represent Mr.

21:07:17   19   Bongiovanni in this case.          And whom are you employed by?

21:07:21   20      A.    I've been employed as a law enforcement agent

21:07:26   21   with the U.S. Border Patrol for over 12 years.

21:07:31   22      Q.    So I take it you were employed by them back in

21:07:34   23   April of 2019?

21:07:35   24      A.    Yes.

21:07:36   25      Q.    And what is your position now?
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            1                   T. MOZG - DX BY MR. HARRINGTON

21:07:38    2      A.    I'm currently a border patrol agent intelligence.

21:07:41    3   I'm attached to Homeland Security Investigations and the

21:07:44    4   Federal Bureau of Investigations here in Buffalo.

21:07:48    5      Q.    So I take it you work regularly with Homeland

21:07:53    6   Security and the FBI?

21:07:53    7      A.    Yes.   I work in a plain-clothes capacity and

21:07:56    8   perform liaison and assist with investigations.

21:07:59    9      Q.    And back in April of 2019, was your job the same

21:08:03   10   then or was it different?

21:08:05   11      A.    Same position, I was employed here in Buffalo

21:08:08   12   with the Border Patrol as a plain clothes intelligence

21:08:24   13   agent and conducted liaison and assisted in Homeland

21:08:30   14   Security Investigations.

21:08:30   15      Q.    Did there come a time when you became involved in

21:08:34   16   a case in the investigation of Joseph Bongiovanni?

21:08:37   17      A.    Yes.

21:08:38   18      Q.    And do you remember when that was?

21:08:40   19      A.    Approximately late 2018, early 2019.

21:08:44   20      Q.    And from then until April 23 of 2019, were you

21:08:49   21   involved in his case, in the investigation in this case?

21:08:52   22      A.    Certain aspects.       I was assisting, I wasn't a

21:08:57   23   lead case agent.

21:08:58   24      Q.    Who were you working with, what agency?

21:09:01   25      A.    I was attached to Homeland Security
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            1                   T. MOZG - DX BY MR. HARRINGTON

21:09:04    2   Investigations.       I was working with Curtis Ryan at the

21:09:06    3   time, who is a special agent.

21:09:08    4      Q.    And who is he with?

21:09:10    5      A.    Homeland Security Investigations here in Buffalo,

21:09:14    6   New York.

21:09:16    7      Q.    Now, back on April the 23rd of 2019 -- well,

21:09:36    8   first of all, did you review anything to assist you in

21:09:39    9   testifying today?

21:09:40   10      A.    I met with the U.S. Attorney's Office prior to

21:09:44   11   recall events.

21:09:45   12      Q.    And who did you meet with?

21:09:49   13      A.    Joseph Tripi.

21:09:50   14      Q.    Was anybody else present?

21:09:52   15      A.    At the time, I believe it was Jack Gernatt.

21:09:55   16      Q.    Did you and Gernatt meet with Tripi together?

21:09:59   17      A.    Yes.

21:09:59   18      Q.    Did you review your testimony together and what

21:10:01   19   had happened?

21:10:02   20      A.    We reviewed the events and the exhibits.

21:10:04   21      Q.    What exhibits did you review?

21:10:06   22      A.    E-mails and a lookout record that I had placed.

21:10:12   23      Q.    And were some of those e-mails, were you either

21:10:15   24   an author or recipient or copied on those?

21:10:18   25                   MR. TRIPI:     Just to clarify the record, we
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            1                    T. MOZG - DX BY MR. HARRINGTON

21:10:20    2   met once separately, the agent and I.             And then once

21:10:25    3   together, just to make sure the record is clear.

21:10:28    4      Q.     When did you meet first with Mr. Tripi, do you

21:10:31    5   remember?

21:10:31    6      A.     I had just gotten back, it was, I believe it was

21:10:35    7   just after Christmas.

21:10:36    8      Q.     And was that with Gernatt or not?

21:10:40    9      A.     As Mr. Tripi said, we met once separately and

21:10:43   10   then once again together.

21:10:45   11      Q.     What was first, separate or together?

21:10:47   12      A.     I believe I met separately first.

21:13:18   13      Q.     You know Michael Millich?

21:13:20   14      A.     I have spoken to him.        I'm aware that he is in

21:13:24   15   management and Customs and Border Protection here in

21:13:27   16   Buffalo.

21:13:28   17      Q.     Back in April of 2019, did you know him then?

21:13:33   18      A.     Yes.

21:13:34   19      Q.     And you said you were aware of what he was.             Did

21:13:38   20   you know him personally?

21:13:39   21      A.     I didn't know him personally.

21:13:41   22      Q.     Now, I'm going to show you page 3 of Defense

21:13:53   23   Exhibit E, and ask you, you can look at it right on the

21:13:58   24   screen.     And direct your attention to an e-mail near the

21:14:06   25   bottom of the page.        It appears to be from you, is that
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            1                        T. MOZG - DX BY MR. HARRINGTON

21:14:11    2   right?

21:14:11    3         A.     That's correct.

21:14:11    4         Q.     And Mr. Millich -- it's April 23, 2019 at 2:46,

21:14:16    5   is that right?

21:14:17    6         A.     That's correct.

21:14:17    7         Q.     And you are sending this to Mike Millich?

21:14:20    8         A.     Yes.

21:14:21    9         Q.     And you are requesting him to do certain things

21:14:25   10   with respect to Mr. Bongiovanni's anticipated arriving

21:14:31   11   in the United States at BWI Airport.             Is that right?

21:14:35   12         A.     That's correct.    We had information that he was

21:14:37   13   going to make entry into the United States at the

21:14:41   14   Baltimore Airport at a port of entry facility, which is

21:14:47   15   run by Customs and Border Protection.

21:15:02   16         Q.     Now, right above that, there is an e-mail from

21:15:09   17   Mr. Millich, but it doesn't appear who that is addressed

21:15:17   18   to.        Can you see what I'm talking about, right in the

21:15:20   19   middle, middle of the page says on April 23, 2019 at

21:15:25   20   4:25 p.m. Michael Millich wrote?

21:15:27   21         A.     Okay.

21:15:28   22         Q.     Do you know who he wrote that to?

21:15:31   23         A.     That is Christopher Candela.       I believe he is CBP

21:15:39   24   management in Baltimore.          And Curtis would be Curtis

21:15:42   25   Ryan, if I'm not mistaken.          And Thomas would be myself.
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            1                   T. MOZG - DX BY MR. HARRINGTON

21:15:57    2      Q.    There is no -- there is no address on that

21:16:01    3   particular e-mail, though, is there?             It says it was

21:16:07    4   sent from the iPhone.        I don't know if that makes a

21:16:10    5   difference?

21:16:10    6      A.    I don't know what happens electronically with the

21:16:13    7   address stamp, but it looks like the recipients are

21:16:13    8   myself, Christopher Candela and Curtis Ryan and

21:16:13    9   obviously Mile Millich, who is the author.

21:16:13   10      Q.    It appears Mr. Millich is asking for advice from

21:21:54   11   either you or Mr. Ryan with respect to how this

21:21:57   12   interception of Mr. Bongiovanni was to take place.

21:22:02   13      A.    Well, it was for Mr. Bongiovanni, and that was to

21:22:06   14   be inspected when he enters the United States, so, yes,

21:22:08   15   then the instructions were the reason why we got Michael

21:22:14   16   Millich involved because he is CBP management, and

21:22:17   17   wanted to ensure everything was done professionally and

21:22:21   18   appropriately to be inspected at the border.

21:22:41   19      Q.    Is there some reason you think it wouldn't be if

21:22:46   20   he wasn't involved?

21:22:46   21      A.    No, it's just courtesy to be transparent because

21:22:58   22   sometimes someone could be referred for inspection, but

21:23:02   23   I'm not there on site to conduct the inspection.                  It's

21:23:06   24   just officers saying, hey, can you please inspect this.

21:23:09   25   So out of courtesy and transparency, we like to provide
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            1                   T. MOZG - DX BY MR. HARRINGTON

21:23:13    2   some background information how they should handle and

21:23:16    3   use their discretion on how people make entry into the

21:23:22    4   United States.

21:23:23    5      Q.    And then a short time later above that, there is

21:23:35    6   an e-mail from you to Mr. Millich, and it appears to be

21:23:42    7   in response to his inquiry.          Is that right?

21:23:45    8      A.    Yes.

21:23:45    9      Q.    And you make some suggestions for how Mr.

21:23:48   10   Bongiovanni should be approached.            Is that right?

21:23:52   11      A.    Yes.

21:23:52   12      Q.    And how to talk to him, is that right?

21:23:56   13      A.    Yes.

21:23:56   14      Q.    And what was that based on?

21:23:58   15      A.    Considering Mr. Bongiovanni was a former law

21:24:03   16   enforcement officer, I mean, I wanted it to look like a

21:24:05   17   random inspection.        That is not my intention to

21:24:08   18   embarrass anybody, so, that is why I requested that.

21:24:12   19   It's out of courtesy and it makes it less awkward for

21:24:16   20   the officers conducting the inspection and for the

21:24:19   21   subject making entry.

21:24:20   22      Q.    So that the primary concern was courtesy for him

21:24:26   23   as a former officer as opposed to trying to get

21:24:30   24   information (inaudible)?

21:24:32   25      A.    Well, I didn't want to make it awkward for the
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21:24:36    2   officers and Mr. Bongiovanni.           Like I said, I wasn't

21:24:39    3   there conducting the inspection personally.

21:24:51    4      Q.    Now, on page 2 of Defendant's Exhibit E, there is

21:24:57    5   an e-mail from Mr. Candela to you with copies to other

21:25:07    6   persons.       Is that right?

21:25:07    7      A.    That's correct.

21:25:07    8      Q.    And this appears to be an e-mail summary of what

21:25:10    9   happened with the encounter of Mr. Bongiovanni at the

21:25:13   10   Baltimore airport?

21:25:13   11      A.    Yes, it appears to be a basic update of how the

21:25:17   12   inspection occurred.

21:25:18   13      Q.    Did you know Mr. Candela before this?

21:25:20   14      A.    No.

21:25:20   15      Q.    And did you forward this information to anybody

21:25:25   16   else?

21:25:25   17      A.    I don't recall.        If I did, it should be time

21:25:30   18   stamped on there.

21:25:31   19      Q.    Now, one last thing, if I could.            I'd like to

21:25:46   20   show you Defendant's Exhibit F, which is a two-page

21:25:50   21   document, this is the first page.            Do you recognize this

21:25:56   22   document, the first page of it?

21:25:57   23      A.    Yes, I do.

21:25:58   24      Q.    Can you tell us what that is?

21:26:00   25      A.    Basically TECS is a law enforcement tool, and
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            1                   T. MOZG - DX BY MR. HARRINGTON

21:26:05    2   that notifies local officers, in this example,

21:26:11    3   Baltimore, that Mr. Bongiovanni would be making entry

21:26:13    4   into the United States as a certain place and time.

21:26:16    5      Q.    And then it makes a request to refer for

21:26:22    6   secondary inspection, right?

21:26:24    7      A.    Yes.    I believe that is automated generated

21:26:28    8   remarks.     Those are drop down boxes and basically you

21:26:32    9   request that the passenger be referred to secondary

21:26:35   10   inspection.

21:26:36   11      Q.    But on Exhibit 1, either page one or the second

21:26:40   12   page, there is nothing in there that indicates any

21:26:44   13   reasoning why there would be a secondary inspection.              Is

21:26:47   14   that right?

21:26:47   15      A.    In the one-day lookout hit, I don't believe there

21:26:50   16   is room for comments.        However, I believe that Agent

21:26:54   17   Curtis Ryan did have a different lookout hit on Agent

21:26:59   18   Bongiovanni.

21:27:00   19      Q.    What does that mean?

21:27:01   20      A.    Basically, TECS is a law enforcement system and

21:27:04   21   you can flag that somebody is subject to investigation.

21:27:08   22   This lookout hit is merely highlighting the travel

21:27:22   23   itinerary of a passenger.

21:27:24   24                   MAGISTRATE JUDGE ROEMER:         Mr. Harrington, if

21:27:26   25   I can interrupt for a second.           I don't have a page two
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21:27:29    2   for exhibit F and I think we said C, D, and E in

21:27:36    3   evidence, but I don't think I we mentioned F.

21:27:40    4                  MR. TRIPI:      I was going to move it.

21:27:41    5                  MAGISTRATE JUDGE ROEMER:          So exhibit F shall

21:27:43    6   be admitted into evidence.

21:27:43    7                  (Whereupon, Exhibit F was received into

21:27:43    8   evidence.)

21:27:45    9                  Go ahead, Mr. Harrington, and sorry to

21:27:48   10   interrupt you.

21:27:48   11                  MR. HARRINGTON:       It was my error, sir.        Can

21:27:51   12   you.

21:27:51   13      Q.     Can you explain what you just said what Mr. Ryan

21:27:55   14   did.     You said he sent some other form?

21:27:57   15      A.     No, it's administrative in the electronic systems

21:28:02   16   that HSI utilizes.        If somebody is under investigation

21:28:06   17   and you have a case file, you basically put all of their

21:28:31   18   biographic information in there.            And it is viewable by

21:28:44   19   Customs and Border Protection.           The exhibit that you

21:28:48   20   showed me with the one-day hit that says "refer for

21:28:53   21   secondary inspection," I did that to basically highlight

21:28:57   22   Mr. Bongiovanni's travel itinerary so he would be

21:29:01   23   referred to for secondary inspection when he made entry

21:29:12   24   to the United States and Baltimore at a CBP port of

21:29:17   25   entry.
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            1                   T. MOZG - DX BY MR. HARRINGTON

21:29:19    2      Q.    Have you seen the document that Ryan generated?

21:29:22    3      A.    It's not a document.        It's a case file, and when

21:29:25    4   you have a case file, you basically put a person's name

21:29:28    5   in there electronically, and it's no different than

21:29:33    6   having a paper case file, it's just electronic.

21:29:36    7      Q.    Well, was something different than the lookout

21:29:41    8   sent to the people in Baltimore?

21:29:42    9      A.    It that would be my e-mail.

21:29:44   10      Q.    That would be what?

21:29:45   11      A.    The previous email you had on the generator.

21:29:48   12      Q.    What Ryan generated you said was not sent?

21:29:59   13      A.    No, that is part of a case file that is separate

21:30:03   14   from this one day lookout hit that you just showed me.

21:30:06   15      Q.    My question is, whether it's a case file or

21:30:09   16   whatever else you call it, was that sent to Baltimore?

21:30:12   17      A.    No, the case file was not sent to Baltimore.

21:30:15   18      Q.    Was anything else sent other than what you've

21:30:18   19   shown us here, the lookout and exhibit F and the e-mail.

21:30:23   20      A.    The e-mail that I sent to Michael Millich was

21:30:25   21   sent to Baltimore, Mr. Candela was in Baltimore, that is

21:30:27   22   the only information I sent over as background

21:30:29   23   information for the anticipated entry of Joseph

21:30:33   24   Bongiovanni.

21:30:35   25                  MR. HARRINGTON:       That's all I have.
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            1                      T. MOZG - CX BY MR. TRIPI

21:30:37    2                   MAGISTRATE JUDGE ROEMER:         Thank you, sir.

21:30:37    3                   Mr. Tripi.

21:32:35    4                   MR. TRIPI:     Judge, before we get going, I

21:32:40    5   was mistaken.      I have an unredacted copy.            It's exhibit

21:32:44    6   E, but has that paragraph.

21:32:52    7                   MAGISTRATE JUDGE ROEMER:         Okay.     Want to

21:32:53    8   hand that up?

21:32:53    9                   MR. TRIPI:     That is my only copy, if I could

21:32:55   10   get back that copy.

21:32:57   11                   MAGISTRATE JUDGE ROEMER:         Sure.

21:33:00   12   CROSS EXAMINATION BY MR. TRIPI:

21:33:00   13      Q.    Just to clarify, putting on Defense Exhibit E, at

21:33:10   14   the bottom there is what looks to be an automated e-mail

21:33:13   15   notification to Curtis Ryan on April 20th, correct?

21:33:17   16      A.    Yes.

21:33:17   17      Q.    And that is notifying of some flight manifest

21:33:23   18   information regarding Bongiovanni?

21:33:24   19      A.    Correct, and that was in April of 2019.

21:33:27   20      Q.    Is that like the text notification that you're

21:33:31   21   talking about that starts the process?

21:33:32   22      A.    Yes.

21:33:32   23      Q.    And then Defense Exhibit F, which is in evidence,

21:33:37   24   is you taking an additional step to highlight that

21:33:40   25   travel itinerary calling it a one-day lookout, correct?
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21:33:44    2         A.     Yes, correct.

21:33:45    3         Q.     And in there, your remarks are simply "refer for

21:33:49    4   secondary inspection"?

21:33:50    5         A.     Yes.

21:33:52    6         Q.     And I suppose, if they so decided, that the

21:33:56    7   people that worked in BWI could have ignored this and

21:34:00    8   not done a search?

21:34:01    9         A.     Yes.

21:34:02   10         Q.     And not done a secondary inspection?

21:34:04   11         A.     Correct, it's up to the local discretion on the

21:34:18   12   officers conducting the inspection.

21:34:23   13         Q.     And, this is Government's Exhibit 34, which I

21:34:29   14   believe is an e-mail that you were shown, is also

21:34:34   15   duplicated in Defense Exhibit E?

21:34:37   16         A.     Yes.

21:34:37   17         Q.     And I'll show it to you in Government's Exhibit

21:34:40   18   34.        And in your e-mail, you said "discretionary

21:34:45   19   dissemination," correct?

21:34:47   20         A.     Yes.

21:34:47   21         Q.     What did you mean by that?

21:34:48   22         A.     I meant discretion, here is the background

21:34:51   23   information, we have a subject of investigation making

21:34:55   24   entry into the United States, we're requesting an

21:34:58   25   inspection, but based on this information, use your
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            1                      T. MOZG - CX BY MR. TRIPI

21:35:01    2   discretion and conduct the inspection locally as you see

21:35:05    3   fit.

21:35:37    4      Q.    In your experience, are there any issues with

21:35:41    5   sharing that information between and among CBP officers

21:35:45    6   or Homeland Security agents?

21:35:47    7      A.    No.

21:35:47    8      Q.    How about information resulting from any

21:35:49    9   secondary inspection?

21:35:51   10      A.    No.    If it's within the Department of Homeland

21:35:54   11   Security, there are no third-party restrictions on

21:35:57   12   sharing information.        Everyone has common system access

21:36:01   13   and for liaison information.

21:36:14   14      Q.    And did you put in the one-day lookout, Defense

21:36:21   15   Exhibit F, in evidence prior to writing the e-mail that

21:36:25   16   was just up on the screen?

21:36:27   17      A.    Yes.

21:36:28   18      Q.    Which is Government's Exhibit 34?

21:36:31   19      A.    That's correct.

21:36:35   20      Q.    And was that based upon a request for discussions

21:37:26   21   you had with Special Agent Curtis Ryan after he became

21:37:31   22   involved in that process?

21:37:32   23      A.    Yes.

21:37:33   24      Q.    As it related to that, did you have any other

21:37:36   25   role other than the one-day lookout and the e-mails that
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21:37:39    2   we observed?

21:37:40    3      A.    No.

21:37:45    4                  MR. TRIPI:      Nothing further, Judge.            Thank

21:37:45    5   you.

21:37:48    6                  MAGISTRATE JUDGE ROEMER:          Thank you, sir

21:37:49    7                  MR. Harrington?

21:37:49    8                  MR. HARRINGTON:       No further questions.

21:37:51    9                  MAGISTRATE JUDGE ROEMER:          You can step down.

21:37:53   10   Thank you.

21:37:54   11                  MR. Harrington?

21:37:54   12                  MR. HARRINGTON:       We have no further

21:37:56   13   witnesses.

21:37:57   14                  MAGISTRATE JUDGE ROEMER:          Mr. Tripi.

21:37:58   15                  MR. TRIPI:      We rested, Judge.

21:37:59   16                  MAGISTRATE JUDGE ROEMER:          Okay.    No

21:38:00   17   rebuttal?

21:38:01   18                  MR. TRIPI:      No rebuttal.

21:38:03   19                  MAGISTRATE JUDGE ROEMER:          Okay.    We'll put a

21:38:05   20   scheduling order in place.          How long to get the

21:38:09   21   transcript, Mr. Tripi?         Any idea?

21:38:14   22                  MR. TRIPI:      Thirty days, usually.           I think

21:38:15   23   it's 30 days.

21:38:16   24                  THE CLERK:      Thirty days.

21:38:18   25                  MAGISTRATE JUDGE ROEMER:          Okay.
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21:38:19    2                  THE CLERK:      That will take us to

21:38:21    3   approximately February 7th.

21:38:25    4                  THE COURT:      And how long would counsel like

21:38:26    5   to follow or we'll do simultaneous filings and then

21:38:30    6   simultaneous responses.

21:38:33    7                  MR. HARRINGTON:       Maybe three weeks after

21:38:35    8   that, Judge?

21:38:35    9                  MR. TRIPI:      I'm out of the district from

21:38:37   10   February 12th to the end of February.             Could we push

21:38:42   11   that a little bit.

21:38:43   12                  MAGISTRATE JUDGE ROEMER:          Thirty days, does

21:38:45   13   that sound reasonable?         Thirty days from February.

21:38:49   14                  THE CLERK:      March 7th.

21:38:50   15                  MR. TRIPI:      That would be fine, thank you.

21:38:54   16                  MAGISTRATE JUDGE ROEMER:          And how long to

21:38:56   17   respond?     Two weeks, is that enough?

21:38:57   18                  MR. HARRINGTON:       Yes.

21:38:58   19                  MR. TRIPI:      Yes, Judge.

21:38:59   20                  THE CLERK:      March 21st.

21:39:02   21                  MAGISTRATE JUDGE ROEMER:          And we'll schedule

21:39:03   22   a date for oral argument.

21:39:13   23                  THE CLERK:      March 29th at 1 o'clock.

21:39:21   24                  MR. TRIPI:      That's fine.      Judge, will that

21:39:29   25   oral argument, I'll ask a question.             That oral argument
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21:39:32    2   will just be on this issue with these parties or are you

21:39:35    3   anticipating --

21:39:36    4                  MAGISTRATE JUDGE ROEMER:          We've had oral

21:39:38    5   argument with Gerace already, right, and there was no

21:39:41    6   hearings in Gerace.

21:39:42    7                  MR. TRIPI:      No hearings in Gerace.         There

21:39:44    8   were other motion issues that Mr. Harrington had in his

21:39:48    9   motions that I think --

21:39:49   10                  MAGISTRATE JUDGE ROEMER:          I thought we

21:39:50   11   argued those before, but Mr. Harrington.

21:39:52   12                  MR. HARRINGTON:         We deferred some of them.

21:39:54   13                  MR. TRIPI:      I think some of them may still

21:39:56   14   need to be argued.

21:39:56   15                  MAGISTRATE JUDGE ROEMER:          We'll open them on

21:39:58   16   that date, we'll argue anything anybody wants to argue.

21:40:01   17                  MR. TRIPI:      Okay.     You don't really want to

21:40:05   18   have it that broad, Judge.

21:40:06   19                  MAGISTRATE JUDGE ROEMER:          Okay.    Or whatever

21:40:08   20   motions that Mr. Harrington wants to continue to argue.

21:40:11   21                  MR. TRIPI:      Mr. Harrington and I will speak

21:40:14   22   and discuss and see what still may be deferred from

21:40:17   23   previously.

21:40:18   24                  MAGISTRATE JUDGE ROEMER:          But all of the

21:40:19   25   briefing is done on those.
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21:40:21    2                  MR. TRIPI:      Yes.

21:40:22    3                  MAGISTRATE JUDGE ROEMER:          And the only

21:40:23    4   briefing we have left is this hearing.

21:40:25    5                  MR. TRIPI:      That's correct.

21:40:26    6                  MAGISTRATE JUDGE ROEMER:          Anything else, Mr.

21:40:27    7   Tripi?

21:40:27    8                  MR. TRIPI:      Not from the government.

21:40:29    9                  MAGISTRATE JUDGE ROEMER:          Mr. Harrington.

21:40:30   10                  MR. HARRINGTON:        Can I explain about all my

21:40:32   11   complaints about the world?

21:40:33   12                  MR. TRIPI:      That is why I said we might want

21:40:35   13   to limit it a little bit.

21:40:36   14                  MAGISTRATE JUDGE ROEMER:          You can submit me

21:40:38   15   a list beforehand and we'll go down and check that.                All

21:40:42   16   right.    It's not St. Patrick's day, we're not having

21:40:46   17   anything on St. Patrick's day.           Okay.    Have a great day.

21:40:51   18   Stay safe.

21:40:53   19                  MR. HARRINGTON:        You too, Judge.

21:40:55   20                  MR. TRIPI:      Thank you.

21:41:01   21                  THE CLERK:      Back on the record.

21:41:04   22                  MR. TRIPI:      Judge, I may have put this on

21:41:06   23   the record earlier, but just so the record is clear.

22:13:05   24   When I transmitted the e-mail that you have unredacted,

22:13:10   25   which is a version that the Defense Exhibit E into
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22:14:01    2   evidence.     In my transmittal e-mail to Mr. Harrington, I

22:14:24    3   stated to him the redaction in the Gernatt e-mail dated

22:14:38    4   April 26, 2019 at 10:22 a.m. three days after the border

22:14:43    5   search generally relates to his view of the scope of the

22:15:24    6   investigation and not the border search at issue and so

22:15:28    7   that was my explanation of redaction, and I wanted the

22:15:48    8   Court to have that context.

22:16:23    9                  MAGISTRATE JUDGE ROEMER:          Okay.    Thank you.

22:16:26   10                  Anything further, Mr. Harrington, any

22:16:30   11   complaints?

22:16:30   12                  MR. HARRINGTON:       I have many, but I'll defer

22:16:33   13   them to March.

22:16:35   14                  MAGISTRATE JUDGE ROEMER:          Right.    Have a

22:16:36   15   great day.

22:16:37   16                  MR. TRIPI:      You too.

22:16:40   17                  MR. HARRINGTON:       Thank you.

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 3                         CERTIFICATE OF REPORTER

 4

 5      I certify that the foregoing is a correct transcript

 6   of the record to the best of my ability of proceedings

 7   transcribed from the audio in the above-entitled matter.

 8

 9   S/ Karen J. Clark,        RPR

10   Official Court Reporter

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